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  11 and Troy Shanks
  12                          UNITED STATES DISTRICT COURT
  13                        SOUTHERN DISTRICT OF CALIFORNIA
  14
  15 GOLO, LLC,                                     Case No. 3:18-cv-2434-GPC
  16                              Plaintiff,        MEMORANDUM OF POINTS AND
                                                    AUTHORITIES IN SUPPORT OF
  17         v.                                     DEFENDANTS’ MOTION TO
  18 HIGHER HEALTH NETWORK, LLC,                    DISMISS AMENDED COMPLAINT
     and TROY SHANKS.                               FOR FAILURE TO STATE A CLAIM
  19
                      Defendants.                   Judge:    Hon. Gonzalo P. Curiel
  20
                                                    Date:     January 25, 2019
  21                                                Time:     1:30 p.m.
                                                    Place:    Courtroom 2D
  22
                                                              221 West Broadway
  23                                                          San Diego, CA 92101
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   1                 MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.      PRELIMINARY STATEMENT
   3         In this lawsuit, GOLO, LLC – a marketer of a diet program (the “GOLO
   4 Diet”) – has sued Higher Health Network, LLC (“HHN”), along with HHN’s owner,
   5 Troy Shanks (collectively, “Defendants”). HHN is the publisher of Supplement
   6 Police, a product-review website focused primarily on reviewing supplements.
   7 GOLO’s claims arise out of two reviews published on Supplement Police: one
   8 reviewing the GOLO Diet, and the other reviewing a health supplement called
   9 SilaLive Silica (“SilaLive”). The theory underlying the lawsuit is that Defendants
  10 have an undisclosed financial interest in SilaLive, and the review of the GOLO Diet
  11 was, accordingly, a covert attempt to boost sales of SilaLive by bashing the GOLO
  12 Diet. Based on that theory, GOLO has brought claims for false advertising under
  13 the Lanham Act, as well as for trade libel.
  14         As set forth in detail below, the Amended Complaint and exhibits thereto fail
  15 to provide any support for that theory. The reviews themselves, which GOLO
  16 attached as Exhibits to its Amended Complaint, make clear that (a) Supplement
  17 Police’s review of the GOLO Diet recommended the diet as “a cost-effective
  18 program,” and did not mention SilaLive, or direct readers to its review of SilaLive,
  19 and (b) SilaLive is not promoted as a weight-loss product to which potential
                                                   1
  20 purchasers of the GOLO Diet could be diverted. Thus, the theory driving GOLO’s
  21 lawsuit is implausible on its face.
  22         GOLO’s Amended Complaint should, accordingly, be dismissed in its
  23 entirety for the following reasons:
  24
  25
             1
  26         While the general rule is that “a district court may not consider any material
     beyond the pleadings in ruling on a Rule 12(b)(6) motion, . . . material which is
  27 properly submitted as part of the complaint may be considered.” Hal Roach
     Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1555 n.19 (9th Cir. 1989).
  28
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   1        1. the Lanham Act claims fail as a matter of law because (a) GOLO has not
   2            plausibly traced any commercial injuries to Defendants’ alleged false
   3            advertising, which is a requisite for standing under the Lanham Act,
   4            (b) GOLO has not alleged any statement published by Defendants that is
   5            actionable under the Lanham Act, and (c) as to the review of the GOLO
   6            Diet in particular, GOLO has not adequately alleged that that review
   7            constitutes commercial speech, which it must be to be subject to a false
   8            advertising claim;
   9        2. the trade libel claim fails as a matter of law because GOLO has not
  10            adequately alleged the required elements of (a) falsity, (b) pecuniary injury,
  11            or (c) actual malice; and
  12        3. any claim GOLO might be asserting based on third-party comments left on
  13            the Supplement Police website is barred by Section 230 of the
  14            Communications Decency Act.
  15         Thus, Defendants respectfully request that this Court dismiss the Amended
  16 Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure for
  17 failure to state a claim upon which relief can be granted.
  18 II.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY
  19         A.     The Parties
  20         GOLO is a Delaware corporation, whose principal place of business is also in
  21 that state. Am. Compl. ¶ 4, Jan. 10, 2018, Dkt. 18. GOLO markets what it
  22 describes as a “leading weight loss and wellness program that aids people all over
  23 the world in achieving their weight loss goals in a sustainable and healthy manner.”
  24 Id. ¶ 9. GOLO’s weight-loss program has three elements: a “meal plan,” a
  25 “nutraceutical” supplement called the “Release,” and various recommended
  26 “lifestyle behavior” changes. Id. ¶¶ 12, 14, 16-18. According to GOLO, its
  27 supplement “contains a proprietary blend of ingredients that work in conjunction
  28 with [the meal plan] to help manage glucose, insulin, and stress, in order to promote
                                             2
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   1 steady and sustainable weight loss and minimize or eliminate muscle loss during the
   2 weight loss regimen.” Id. ¶ 16.
   3         Mr. Shanks is a resident of California. Am. Compl. ¶ 6; Order (“Sept. 26
   4 Order”) at 1, Sept. 26, 2018, Dkt. 28. He is the sole owner of HHN, which was
   5 originally an Indiana limited liability company, and is now registered in California,
   6 where it has its principal place of business. Am. Compl. ¶¶ 5, 7-8; Sept. 26 Order
   7 at 1. As relevant here, HHN is the publisher of Supplement Police, an online
   8 publication that offers reviews of hundreds of health, wellness and weight-loss
   9 supplements. Am. Compl. ¶¶ 34-35; see also https://supplementpolice.com
  10 (Supplement Police website). In addition to reviewing products, Supplement Police
  11 provides a forum for users to post their own comments about the products under
  12 review. Am. Compl. ¶ 59. Though, originally, Supplement Police generated
  13 revenue principally through “affiliate” relationships with various products, under
  14 which Supplement Police would receive a small commission for sales of certain
  15 products traceable to the Supplement Police website, increasingly, Supplement
  16 Police has relied on advertising revenue. Id. ¶ 37. Supplement Police’s
  17 advertisements are placed exclusively through Google AdSense, with Supplement
                                                                  2
  18 Police having no direct interaction with its advertisers. Id.
  19
  20         2
               Google AdSense is a program used by content-based websites to place
       advertisements on their pages. As one court has explained: “AdSense is a service
  21   that coordinates advertiser content with contextually related webpages. Advertisers
  22   supply Google with online advertisements to display on the Internet via AdSense for
       a fee. Similarly, websites enroll in the AdSense service and allow AdSense to
  23   display such advertisements in exchange for fees from Google. When a user
       accesses a webpage on one of these websites, AdSense automatically scans the
  24   webpage’s content. It reads all of the words on the page and conducts a statistical
       analysis of them” and then selects specific advertisements based on that analysis.
  25   Hyperphrase Techs., LLC v. Google, Inc., 260 F. App’x 274, 276 (Fed. Cir. 2007).
  26   Thus, a website that uses AdSense for its advertisements plays no direct role in
       selecting its advertisers, which is done via the AdSense algorithm. In that way, the
  27   AdSense program essentially performs the function that the separation of business
       from editorial plays for larger publications.
  28
                                                  3
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    1         B.     GOLO’s Allegations
    2         Large portions of GOLO’s Amended Complaint consist of allegations that are
    3 irrelevant to the claims asserted. See, e.g., Am. Compl. ¶¶ 25-29, 38-39 (alleging,
    4 inter alia, that Mr. Shanks has referred to himself as an “SEO genius,” and that
    5 Supplement Police has not lived up to its boasts about “transparency”). The
    6 allegations actually relevant to GOLO’s claims relate to two specific reviews
    7 published by Supplement Police: a review of SilaLive (the “SilaLive Review”) and a
    8 review of the GOLO Diet (the “GOLO Review”). Id. ¶¶ 44-50, 52-58, Ex. B
    9 (SilaLive Review), Ex. C (GOLO Review).
   10         As for the SilaLive Review, GOLO contends that the review’s true purpose is
   11 to promote SilaLive at GOLO’s expense. See, e.g., Am. Compl. ¶¶ 73-77, 82-85.
   12 However, as GOLO’s own allegations make clear, the SilaLive Review does not
   13 present it as a weight-loss product like the GOLO Diet. Rather, the review describes
   14 it as a “health supplement” that promises to improve health “by safely flushing and
   15 eliminating harmful toxins and excess waste.” Id. ¶ 45. Although GOLO asserts
   16 “[o]n information and belief” that the SilaLivew review “contains numerous false
   17 and/or misleading statements regarding SilaLive,” and identifies two specific
   18 statements that it claims are false and/or misleading, it does not say what is false
   19 and/or misleading about either of those statements. Id. ¶ 50. Instead, GOLO’s
   20 principal complaint appears to be that Mr. Shanks and HHN are supposedly
   21 affiliated with SilaLive, and that Supplement Police provided a “positive review” of
   22 that product without disclosing that fact. Id. ¶¶ 44, 48-49.
   23         As for the GOLO Review, while GOLO contends that it is “replete with
   24 inaccuracies, misleading statements, and blatant falsehoods,” Am. Compl. ¶ 53, it
   25 identifies only two statements from the review that it contends are inaccurate:
   26               GOLO’s Release Supplement should be taken “30 minutes before a
   27                meal” in order to “enjoy health benefits while also purportedly
   28                normalizing your insulin levels”; and
                                                 4
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    1              “Out of all of the ingredients [in the Release Supplement], only Salacia
    2                has been linked to reduced diabetes symptoms. . . . Meanwhile, none
    3                of the other ingredients in Release have been linked to weight loss or
    4                normalized insulin levels.”
    5 Id. ¶ 54. GOLO does not say what specifically is inaccurate in either of those
    6 statements, or what the supposed truth really is. In addition, GOLO asserts that “the
    7 GOLO Review includes bolded headlines that pose misleading questions which
    8 could cause readers to doubt GOLO’s effectiveness and/or decide not to purchase
    9 GOLO,” id. ¶ 55, but does not say what those supposedly “misleading questions”
   10 are, or how exactly they might divert business from GOLO. And, while GOLO
   11 asserts that the GOLO Review was designed to dissuade readers from doing
   12 business with GOLO, the review itself was hardly negative. In particular, the
   13 GOLO Review described GOLO as a “straightforward diet and fitness program that
   14 may reverse your prediabetes and help you lose weight,” and summed up its
   15 assessment by stating “at this price range, GOLO appears to be a cost-effective
   16 program that outlines basic weight loss recommendations.” Id. Ex. C. Defendants
   17 removed the GOLO Review in July 2017, after this action was filed. Id. ¶ 67.
   18         The central theory underlying GOLO’s lawsuit is that Mr. Shanks and HHN
   19 used search-engine-optimization (“SEO”) techniques to drive GOLO’s potential
   20 customers to the GOLO Review, where they were then dissuaded from purchasing
   21 GOLO and directed to purchase SilaLive instead. See, e.g., Am. Compl. ¶¶ 68-71,
                     3
   22 73, 78, 82, 85. GOLO propounds this theory even though (a) SilaLive was
   23
              3
               GOLO also alleges that Defendants used “the GOLO Review” as “a means of
   24 promoting” various unnamed “other products, programs, and plans Defendants are
      affiliated with, and/or receive compensation from.” Am. Compl. ¶ 77; see also id.
   25 ¶¶ 73, 78, 82, 84 (same). GOLO does not plead any specific facts in support of those
   26 allegations, and vague and conclusory allegations of that sort need not be credited at
      this stage. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (“[A] court considering a
   27 motion to dismiss can choose to begin by identifying pleadings that, because they are
      no more than conclusions, are not entitled to the assumption of truth.”).
   28
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    1 nowhere mentioned in, or promoted in connection with, the GOLO Review, (b) the
    2 GOLO Review recommended GOLO as “cost-effective” weight-loss program, and
    3 (c) SilaLive is not a weight-loss product and thus could not serve as a substitute for
    4 customers interested in the GOLO Diet. See generally id. Ex. B (SilaLive Review);
    5 id., Ex. C (GOLO Review).
    6         C.     Procedural History
    7         This action was filed in the District Court for the Eastern District of
    8 Pennsylvania in June 2017, where GOLO originally named Supplement Police, but
    9 not HHN or Mr. Shanks, as a defendant. Compl., June. 2, 2017, Dkt. 1. In
   10 December 2017, HHN, acting in its capacity as publisher of Supplement Police,
   11 moved to dismiss the action solely on jurisdictional grounds. Mot. to Dismiss,
   12 Dec. 20, 2017, Dkt. 17. In response, GOLO filed its Amended Complaint (which is
   13 now the operative pleading), in which it named Mr. Shanks and HHN as defendants.
   14 In its Amended Complaint, GOLO asserted claims for (a) unfair competition under
   15 15 U.S.C. § 1125(a)(1)(B) of the Lanham Act based on the GOLO Review (Count I),
   16 (b) unfair competition under 15 U.S.C. § 1125(a)(1)(B) of the Lanham Act based on
   17 the SilaLive Review (Count II), and (c) trade libel (Count III). Am Compl. ¶¶ 72-95.
   18         In March 2018, Mr. Shanks and HHN moved to dismiss the Amended
   19 Complaint solely on jurisdictional grounds. Mot. to Dismiss, Mar. 19, 2018, Dkt.
   20 23. On September 26, 2018, the Pennsylvania District Court issued an order
   21 directing the parties “to show cause why the case should not be transferred to the
   22 Southern District of California, where Defendants reside.” Sept. 26 Order at 2.
   23 On October 10, 2018, after receiving the parties’ submissions, the Pennsylvania
   24 District Court entered an order transferring the case to this Court under 28 U.S.C.
   25 § 1406(a), based on its finding that “venue [wa]s improper” in the Eastern District
   26 of Pennsylvania. Order, Oct. 10, 2018, Dkt. 34. On November 2, 2018, this Court
   27 entered an order extending Defendants’ time to “file an answer or other responsive
   28 pleading to Plaintiff’s Amended Complaint” to November 20, 2018. Order, Nov. 2,
                                             6
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    1 2018, Dkt. 39.
    2 III.    STANDARD OF REVIEW
    3         To survive a motion to dismiss under Rule 12(b)(6), a “complaint must
    4 contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
    5 plausible on its face.’” Iqbal, 556 U.S at 678 (quoting Bell Atl. Corp. v. Twombly,
    6 550 U.S. 544, 570 (2007)). Under this standard, “[t]hreadbare recitals of the
    7 elements of a cause of action, supported by mere conclusory statements, do not
    8 suffice” to avoid dismissal. Iqbal, 556 U.S. at 678; see also id. at 678-79 (federal
    9 pleading standards do “not unlock the doors of discovery for a plaintiff armed with
   10 nothing more than conclusions”). Rather, a plaintiff must plead sufficient “factual
   11 content” to permit “the court to draw the reasonable inference that the defendant is
   12 liable for the misconduct alleged.” Id. at 678 (citing Twombly, 550 U.S. at 556)
   13 (emphasis added).
   14 IV.     ARGUMENT
   15         A.     GOLO’s Lanham Act Claims (Counts I and II) Fail As A Matter
   16                Of Law For Multiple Reasons
   17         GOLO has brought two claims for false advertising under Section
   18 1125(a)(1)(B) of the Lanham Act – one challenging the GOLO Review (Count I),
   19 and the other challenging the SilaLive Review (Count II). Those claims fail for at
   20 least three reasons. First, GOLO lacks standing to bring the claims, as it has not
   21 plausibly alleged (and cannot plausibly allege) a commercial injury arising out of
   22 either review. Second, while GOLO has made various general allegations about the
   23 false and/or misleading nature of those reviews, it has failed to identify a single
   24 statement from either review that is actually actionable under the Lanham Act.
   25 Third, as to the GOLO Review in particular, GOLO has not adequately alleged that
   26 that review constitutes commercial speech, which it must be to be susceptible to a
   27 false advertising claim.
   28
                                                   7
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    1                1.     GOLO Lacks Standing Under The Lanham Act
    2         While Section 1125(a)(1)(B) of the Lanham Act creates a cause of action for
    3 false advertising, it does not deputize a plaintiff to act as a private Federal Trade
    4 Commission, challenging any allegedly false advertising regardless of its
    5 relationship to the plaintiff. Rather, Section 1125(a)(1)(B) provides a cause of
    6 action only to a plaintiff that can show that the alleged false advertising caused
    7 consumers “to withhold trade from the plaintiff.” Lexmark Int’l, Inc. v. Static
    8 Control Components, Inc., 572 U.S. 118, 133 (2014). Thus, “[t]o invoke the
    9 Lanham Act’s cause of action for false advertising, a plaintiff must plead (and
   10 ultimately prove) an injury to a commercial interest in sales or business reputation
   11 proximately caused by the defendant’s misrepresentations.” Id. at 140 (emphasis
   12 added). GOLO has not done so.
   13         This is most apparent with respect to GOLO’s claim based on the SilaLive
   14 Review (Count II). The crux of GOLO’s complaint is that the review is presented as
   15 if it were neutral and objective, when (according to GOLO) Mr. Shanks and HHN
   16 have undisclosed business interests in that product. See, e.g., Am. Compl. ¶¶ 44-49,
   17 73-74, 82-84. Even accepting the truth of that allegation for these limited purposes,
   18 that has nothing to do with GOLO, or any commercial injury it may have suffered.
   19 As is clear on the face of the Amended Complaint, SilaLive is not a weight-loss
   20 product, and does not compete with GOLO in the marketplace. See generally id. ¶¶
   21 45-46, 50, Ex. B. Accordingly, this is not a case where GOLO can help itself to the
   22 presumption that anything that commercially benefits SilaLive would commercially
   23 harm it, as it could if the products were engaged in zero-sum competition against
   24 each other. See Lexmark, 572 U.S. at 136 (noting that “a plaintiff who does not
   25 compete with the defendant will often have a harder time establishing proximate
   26 causation”); TrafficSchool.com, Inc. v. Edriver Inc., 653 F.3d 820, 827 (9th Cir.
   27 2011) (when a “plaintiff competes directly with defendant, a misrepresentation will
   28 give rise to a presumed commercial injury that is sufficient to establish standing”).
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    1 Thus, even assuming that the SilaLive Review contains false and/or misleading
    2 positive statements about SilaLive, GOLO lacks standing to challenge them.
    3         The same goes for GOLO’s challenge to the GOLO Review (Count I).
    4 That claim is tied to GOLO’s overarching theory that Defendants, through clever
    5 employment of SEO, “us[ed] Supplement Police’s website in general, and the
    6 GOLO Review in particular” to “direct diversion of sales from GOLO to SilaLive.”
    7 Am. Compl. ¶¶ 73, 78. That theory is fatally undermined by the fact that (a) the
    8 GOLO Review did not mention SilaLive, or otherwise direct readers to the page
    9 hosting the SilaLive review, (b) far from diverting readers away from the GOLO
   10 Diet, the GOLO Review recommended GOLO as “cost-effective” weight-loss
   11 program, and (c) SilaLive is not a weight-loss product, and, therefore, no customer
   12 looking for GOLO would be diverted into accepting SilaLive as a substitute.
   13         In short, GOLO has failed to plausibly allege a commercial injury caused by
   14 either the SilaLive Review or the GOLO Review, and its Lanham Act claims should
   15 be dismissed on that basis. See, e.g., Bobbleheads.com, LLC v. Wright Brothers,
   16 Inc., 259 F. Supp. 3d 1087, 1097 (S.D. Cal. 2017) (dismissing Lanham Act claim
   17 where plaintiff alleged false advertising and an injury, but did not allege any
   18 plausible theory connecting the two); Plan P2 Promotions, LLC v. Wright Brothers,
                                                                   4
   19 Inc., 2017 WL 1838943, at *5 (S.D. Cal. May 8, 2017) (same).
   20
              4
              Other courts applying Lexmark have likewise dismissed Lanham Act claims
   21 at the motion-to-dismiss stage where the plaintiff failed to plead facts plausibly
      connecting its asserted commercial injury to the alleged violations of the statute.
   22 See, e.g., Wall & Assocs., Inc. v. Better Bus. Bureau of Cent. Va., Inc., 685 F. App’x
   23 277, 279 (4th Cir. 2017) (affirming dismissal of Lanham Act claim brought against
      consumer-review publication where plaintiff did “not identify a single consumer
   24 who withheld or canceled business with it or pointed to a particular quantum of
      diverted sales or loss of goodwill and reputation resulting directly from reliance on
   25 any false or misleading representations by [d]efendants”); Black Diamond Land
   26 Mgmt. LLC v. Twin Pines Coal Inc., 707 Fed. App’x 576, 580-81 (11th Cir. 2017)
      (affirming dismissal of Lanham Act claim where plaintiff alleged that it “‘will
   27 continue to be damaged by [d]efendants’ false statements,’” but did not “provide
      any factual support for how or why such an injury to a commercial interest has or
   28 will occur”); Alfasigma USA, Inc. v. Nivagen Pharm., Inc., 2018 WL 4409350, at *6
                                                 9
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    1                2.     GOLO Has Not Alleged Any Actionable Statements
    2                       Under The Lanham Act
    3         Even if GOLO did have standing to assert its Lanham Act claims, those
    4 claims would still fail because GOLO has not identified any actually actionable
    5 statements by Defendants. To state a claim for false advertising under the Lanham
    6 Act, a plaintiff must allege, inter alia, “(1) a false statement of fact by the defendant
    7 in a commercial advertisement about its own or another’s product; (2) the statement
    8 actually deceived or has the tendency to deceive a substantial segment of its
    9 audience, [and] (3) the deception is material in that it is likely to influence the
   10 purchasing decision.” Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134,
   11 1139 (9th Cir. 1997). GOLO has not met these requirements.
   12         As for the GOLO Review, while GOLO makes a number of vague and
   13 conclusory allegations regarding “inaccuracies, misleading statements, and blatant
   14 falsehoods” in that review, see Am. Compl. ¶¶ 53, 55, 75, it identifies only two
   15 statements it contends were false and/or misleading:
   16                STATEMENT 1: GOLO’s Release Supplement should be taken “30
   17                minutes before a meal” in order to “enjoy health benefits while also
   18                purportedly normalizing your insulin levels”; and
   19                STATEMENT 2: “Out of all of the ingredients [in the Release
   20                Supplement], only Salacia has been linked to reduced diabetes
   21                symptoms. Meanwhile, none of the other ingredients in Release have
   22                been linked to weight loss or normalized insulin levels.”
   23
   24 (E.D. Cal. Sept. 17, 2018) (dismissing federal false advertising claim where plaintiff
      did not “adequately allege” harm); Avalos v. IAC/Interactivecorp., 2014 WL
   25 5493242, at *5 (S.D.N.Y. Oct. 30, 2014) (dismissing Lanham Act false advertising
      claim where “[t]he Complaint . . . provide[d] no factual support for . . . conclusory
   26 allegation of harm to [plaintiff].”); Ahmed v. Hosting.com, 28 F. Supp. 3d 82, 91 (D.
      Mass. 2014) (dismissing Lanham Act claim where complaint “state[d] no facts
   27 establishing . . . commercial injury caused by the alleged [trademark]
   28 infringement”).
                                                10
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    1 Id. ¶ 54. For Statement 1, GOLO does not say what is false and/or misleading about
    2 it. Moreover, even if it is not true that the Release supplement must be “taken ‘30
    3 minutes before a meal’” to enjoy its claimed benefits, GOLO fails to explain how
    4 stating otherwise have a material influence on customers’ purchasing decisions,
    5 which is also a requirement for a statement to be actionable under the Lanham Act.
    6         For Statement 2, GOLO once again does not say what is false and/or
    7 misleading about it. Presumably, GOLO’s position is that, in fact, more Release
    8 ingredients than just “Salacia” have been linked to “weight loss or normalized
    9 insulin levels.” Even assuming that that is what GOLO intended to allege, that
   10 would not make the statement actionably false and/or misleading under the Lanham
   11 Act. Exactly what ingredients in the Release have or have not been adequately or
   12 reputably linked to “weight loss or normalized insulin levels” is a matter of
   13 scientific debate. It is not the business of a court to “inquir[e] into the validity of
   14 scientific theories.” Oxycal Labs., Inc. v. Inter-Cal Corp., 909 F. Supp. 719, 724
   15 (S.D. Cal. 1995). Accordingly, a false advertising claim cannot be premised on a
   16 defendant’s taking the (allegedly) wrong side in a matter of scientific controversy.
   17 See Ony, Inc. v. Cornerstone Therapeutics, Inc., 720 F.3d 490, 497-498 (2d Cir.
   18 2013) (drawing conclusions “on subjects about which there is legitimate ongoing
   19 scientific disagreement” is not “grounds for a claim of false advertising under the
   20 Lanham Act”); Biolase, Inc. v. Fotona Proizvodnja Optoelektronskih Naprav D.D.,
   21 2014 WL 12579802, at *4-5 (C.D. Cal. June 4, 2014) (same).
   22         As to the SilaLive Review, GOLO has likewise only identified two statements
   23 that it alleges are false and/or misleading: “that SilaLive is ‘formulated with the
   24 greatest quartz crystals,’ and that its main ingredient ‘will help you fight [common
   25 health] problems from the inside and thus give you a healthier, more permanent
   26 solution that artificial cures cannot promise you.” Am. Compl. ¶ 50. Once again,
   27 GOLO does not explain (a) what is false and/or misleading about either of those
   28 statements, (b) how those two statements have a tendency to deceive, or (c) how
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    1 anything false and/or misleading in those statements would be material to any
    2 purchasing decisions.
    3         Moreover, statements like these, which tout the benefits of a product in
    4 effusive and general terms, constitute “puffery,” which cannot support a claim for
    5 false advertising. As the Ninth Circuit has explained, “the difference between a
    6 statement of fact and mere puffery rests in the specificity or generality of the claim.”
    7 Newcal Indus., Inc. v. Ikon Office Solution, 513 F.3d 1038, 1053 (9th Cir. 2008).
    8 Accordingly, “a statement that is quantifiable, that makes a claim as to the specific
    9 or absolute characteristics of a product, may be an actionable statement of fact[,]
   10 while a general, subjective claim about a product is non-actionable puffery.” Id.
   11 (internal quotation marks omitted); see also Coastal Abstract Serv., Inc. v. First Am.
   12 Tile Ins. Co., 173 F.3d 725, 730 (9th Cir. 1999) (same). The statements at issue here
   13 – i.e., that the supplement is “formulated with the greatest quartz crystals,” and will
   14 “give you a healthier, more permanent solution that artificial cures cannot promise
   15 you” – clearly fall on the “puffery” side of this line. See, e.g., Newcal, 513 F.3d at
   16 1052-53 (“general assertion that [defendant] provides its customers with low costs
   17 and with flexibility” was mere puffery).
   18         In sum, GOLO has not identified any statements by Defendants that are
   19 actionable under the Lanham Act. Its Lanham Act claims are, accordingly, subject
   20 to dismissal on this ground as well.
   21                3.     The GOLO Review Is Not Commercial Speech
   22         Finally, GOLO’s false advertising claim as to the GOLO Review fails for an
   23 additional reason – that review does not constitute commercial speech. In order for
   24 statements about a product to constitute “commercial advertising” within the
   25 meaning of the Lanham Act, those statements must be, inter alia, “commercial
   26 speech.” Rice v. Fox Broad. Co., 330 F.3d 1170, 1181 (9th Cir. 2003); see also
   27 Farah v. Esquire Magazine, 736 F.3d 528, 541 (D.C. Cir. 2013) (“[e]very circuit
   28 court of appeals to address the scope of” Section 1125(a) has held that it only
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    1 applies “to commercial speech”). “The core notion of commercial speech is ‘speech
    2 which does no more than propose a commercial transaction.’” Rice, 330 F.3d at
    3 1181 (quoting City of Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 422
    4 (1993)). In this case, GOLO has not identified anything in the GOLO Review that
    5 would make that review commercial speech.
    6         As a general matter, “the Lanham Act doesn’t apply to reviews of consumer
    7 products, even if they are alleged to be biased, inaccurate, or tainted by favoritism.”
    8 Ariix, LLC v. NutriSearch Corp., 2018 WL 1456928, at *3 (S.D. Cal. Mar. 23,
    9 2018). GOLO tries to get around that by alleging that the GOLO Review was really
   10 a vehicle for promoting SilaLive and various unnamed “other products, programs,
   11 and plans Defendants are affiliated with, and/or receive compensation from.” Am.
   12 Compl. ¶ 77. That general and conclusory allegation is insufficient. As to SilaLive,
   13 while GOLO has adequately alleged that Defendants have a commercial interest in
   14 that product, it has not adequately alleged any connection between that commercial
   15 interest and the GOLO Review, which did not mention SilaLive or link to the
   16 SilaLive Review. Thus, even conceding for these limited purposes that the SilaLive
   17 Review qualifies as commercial speech, that does not transform everything that
   18 appears on the Supplement Police website, no matter how remote its connection to
   19 SilaLive, into commercial speech. See, e.g., GOLO, LLC v. HighYa, LLC, 310 F.
   20 Supp. 3d 499, 507 (E.D. Pa. 2018) (that product review website had affiliate
   21 relationship with exercise product did not render its review of GOLO Diet
   22 commercial speech); Oxycal Labs., 909 F. Supp. at 725 (that book describing
   23 alleged cures for cancer contained an appendix promoting certain products did not
   24 render entire book commercial speech).
   25         GOLO’s position is no stronger with respect to Defendants’ supposed use of
   26 the GOLO Review to promote “other products, programs, and plans Defendants are
   27 affiliated with, and/or receive compensation from.” The only actual fact GOLO
   28 pleads in support of that contention is to point to the presence of advertisements for
                                                 13
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    1 other products on the page hosting the GOLO Review. See Am. Compl. ¶¶ 56-57.
    2 But, displaying paid advertisements alongside informational content, which is
    3 something virtually every for-profit publication does, does not render that
    4 informational content commercial speech. See, e.g., Tobinick v. Novella, 848 F.3d
    5 935, 952 (11th Cir. 2017) (blog posts criticizing plaintiff’s medical practice were not
    6 commercial speech, notwithstanding that publisher made a profit from selling
    7 advertising space); GOLO, 310 F. Supp. 3d at 504-05 (same as applied to a product-
    8 review website).
    9         The GOLO Review is not subject to a false advertising claim because it is not
   10 commercial speech. Count I is subject to dismissal on that additional ground as well.
   11         B.     Golo’s Trade Libel Claim (Count III) Fails As A Matter Of Law
   12                For Multiple Reasons
   13         Under California law, a cause of action for trade libel requires “a false
   14 statement of fact that disparages plaintiff’s product and causes pecuniary loss.”
   15 Oliver & Tate Enters. Inc. v. Found. Worldwide Inc., 2014 WL 12595334, at *4
   16 (C.D. Cal. Mar. 21, 2014); see also SB Diversified Prods., Inc. v. Murchison, 2014
   17 WL 3894353, at *9 (S.D. Cal. July 28, 2014) (same). In addition, a plaintiff
   18 asserting such a claim must plead and prove that the allegedly false and libelous
   19 statements were published with “actual malice,” i.e., that, at the time of publication,
   20 the publisher knew the statements were false, or else strongly suspected they were
   21 false and published them anyway. Elec. Frontier Found. v. Global Equity Mgmt.
   22 (SA) Pty Ltd., 290 F. Supp. 3d 923, 945-46 (N.D. Cal. 2017) (citing Melaleuca, Inc.
   23 v. Clark, 78 Cal. Rptr. 2d 627, 630 (Cal. Ct. App. 1998)). Here, GOLO has not
                                                                               5
   24 adequately alleged (a) falsity, (b) pecuniary loss, or (c) actual malice.
   25         5
               GOLO appears to want Pennsylvania law to apply to its trade libel claim, as
   26 its Amended Complaint asserted a trade libel claim specifically under “Pennsylvania
      Common Law.” See Count III. However, Pennsylvania law and California law do
   27 not materially differ as to the requirements for establishing a trade libel claim, at
      least with regard to the elements on which GOLO’s pleading is deficient (i.e.,
   28 falsity, pecuniary loss, and actual malice). Pennsylvania law also requires a plaintiff
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    1         As for falsity, as noted above, GOLO failed, with respect to its false
    2 advertising claim, to adequately allege that anything in the GOLO Review is
    3 actionably false. See supra, at 10-11. That dooms its trade libel claim as well. See,
    4 e.g., Coastal Abstract, 173 F.3d at 732 (statements that were not actionably false for
    5 purposes of false advertising claim also could not support libel claim).
    6         As for pecuniary loss, that element requires a plaintiff to “specifically plead
    7 special damages.” Isuzu Motors Ltd. v. Consumers Union of U.S., Inc., 12 F. Supp.
    8 2d 1035, 1047 (C.D. Cal. 1998). That means, at a minimum, alleging “facts
    9 showing an established business, the amount of sales for a substantial period
   10 preceding the publication, the amount of sales subsequent to the publication, [and]
   11 facts showing that such loss in sales were the natural and probable result of such
   12 publication.” Id. (quoting Fowler v. Curtis Publ’g Co., 182 F.2d 377, 379 (D.C.
   13 Cir. 1950)). Here, GOLO’s merely alleges that “Defendants’ false and defamatory
   14 statements have severely injured GOLO, in that they have tended to blacken and
   15 besmirch GOLO’s reputation.” Am. Compl. ¶ 92. That plainly does not suffice.
   16 See, e.g., Homeland Housewares, LLC v. Euro-Pro Operating LLC, 2014 WL
   17 6892141, at *4 (C.D. Cal. Nov. 5, 2014) (dismissing trade libel claim because
   18 “Plaintiffs’ general statements of economic loss and bare statement for relief . . . do
   19 not sufficient identify special damages”); SB Diversified, 2014 WL 3894353, at *9
   20 asserting a trade libel claim to plead and prove: (1) a “false” statement that (2)
   21 caused “pecuniary loss,” and (3) that “the publisher either kn[ew] that the statement
      is false or act[ed] in reckless disregard of its truth or falsity (actual malice).” Brooks
   22 Power Sys., Inc. v. Ziff Commc’ns, Inc., 1994 WL 444725, at *2 (E.D. Pa. Aug. 17,
      1994). Delaware, which is GOLO’s state of residence and incorporation, aligns
   23 with Pennsylvania law on the elements of a trade libel claim. See Incyte Corp. v.
   24 Flexus Biosciences, Inc., 2017 WL 7803923, at *7 (Del. Super. Ct. Nov. 1, 2017)
      (relying on Pennsylvania case law to recite the elements of a trade libel claim).
   25 Accordingly, it is not necessary to determine which state’s law applies. See, e.g.,
      Arno v. Club Med Inc., 22 F.3d 1464, 1467 (9th Cir. 1994) (where “the two states’
   26 laws” do not “actually differ,” a choice-of-law analysis is unnecessary); see also
      Muldoon v. Tropitone Furniture Co., 1 F.3d 964, 967 (9th Cir. 1993) (where, as
   27 here, a case has been transferred pursuant to 28 U.S.C. § 1406(a), the choice-of-law
   28 rules of the transferee district apply).
                                                 15
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    1 (dismissing trade libel claim where plaintiff did “nothing more than declare that
    2 defendant’s purported statements caused it ‘pecuniary harm,’ through ‘loss of
    3 sales,’” and noting that “California district courts have consistently dismissed trade
    4 libel claims when special damages are not pled specifically”); Isuzu Motors, 12 F.
    5 Supp. 2d at 1047 (dismissing trade libel claim on ground that “[a] bare allegation of
    6 the amount of pecuniary loss alleged is insufficient”). Thus, GOLO has failed to
    7 adequately plead commercial loss.
    8         Finally, as to actual malice, under the pleading rules established in Iqbal and
    9 Twombly, a plaintiff is required to “plausibly . . . allege actual malice” in order to
   10 avoid dismissal where actual malice is an element of the claim. Resolute Forest
   11 Prods., Inc. v. Greenpeace Int’l, 302 F. Supp. 3d 1005, 1027-28 (N.D. Cal. 2017)
   12 (citing cases). That means that a plaintiff cannot rely simply on “actual-malice
   13 buzzwords,” Schatz v. Republican State Leadership Comm., 669 F.3d 50, 56 (1st
   14 Cir. 2012), but must plead “plead ‘plausible grounds’ to infer actual malice by
   15 alleging ‘enough fact[s] to raise a reasonable expectation that discovery will reveal
   16 evidence of’ actual malice.” Biro v. Conde Nast, 807 F.3d 541, 546 (2d Cir. 2015)
   17 (quoting Twombly, 550 U.S. at 556).
   18         Here, GOLO has pleaded no facts that, if proven, could plausibly support its
   19 conclusory assertion that “[a]t the time Defendants published the above-mentioned
   20 statements, they knew the statements concerning GOLO were totally false, or, if not,
   21 Defendants’ avoidance of truth was in utter and reckless disregard of their truth or
   22 falsity.” Am. Compl. ¶ 91. The closest GOLO comes to pleading any theory of
   23 actual malice is in its allegation that Defendants “publish[ed] false, misleading, and
   24 defamatory statements regarding GOLO” in order to benefit products in which they
   25 supposedly have a financial stake. Id. ¶ 73. As set forth above, the theory that the
   26 GOLO Review was used by Defendants as a vehicle for promoting other products at
   27 GOLO’s expense is fundamentally implausible. See supra, at 9. But, even if the
   28 theory were plausible, a theory about a publisher’s supposed ulterior motive is not a
                                               16
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    1 theory of actual malice. As the Supreme Court has explained, the fact that allegedly
    2 false and defamatory material was published “in order to increase [] profits” does
    3 not “suffice to prove actual malice.” Harte-Hanks Commc’ns, Inc. v. Connaughton,
    4 491 U.S. 657, 667 (1989); see also Jankovic v. Int’l Crisis Grp., 822 F.3d 576, 596
    5 (D.C. Cir. 2016) (“[T]he mere presence of some ulterior motive – whether a profit
    6 motive, a motive to produce the most interesting stories, or a personal desire to harm
    7 the subject of a story – is not enough to support a finding of actual malice.”).
    8 Instead, a plaintiff must plead additional facts plausibly connecting that alleged
    9 economic motivation to the publisher’s pre-publication knowledge, or strong
   10 suspicion, that what was published was false. See, e.g., Wynn v. Chanos, 75 F.
   11 Supp. 3d 1228, 1239 (N.D. Cal. 2014) (actual malice was inadequately pleaded
   12 where plaintiff failed to “provide any specific allegations that would support a
   13 finding” that defendant knew its assertions were false, or “harbored serious
   14 subjective doubts” as to their validity). That is what is missing here. Thus, GOLO
   15 has likewise failed to plead actual malice.
   16         GOLO has not adequately alleged falsity, pecuniary injury, or actual malice,
   17 each of which is a required element of trade libel claim. Its trade libel claim is,
   18 accordingly, subject to dismissal on each of those grounds.
   19         C.     Any Claim GOLO Might Bring Arising Out Of The User
   20                Comments Is Barred By Section 230 Of The Communications
   21                Decency Act
   22         GOLO’s Amended Complaint includes a number of allegations regarding the
   23 user comments posted underneath the GOLO Review. See Am. Compl. ¶¶ 59-65.
   24 It is not clear whether GOLO intends to hold Defendants liable for false advertising
   25 and/or trade label based on those user comments, or whether the details about those
   26 comments were included just for atmospheric reasons. Regardless, any such claim
   27 would be barred by Section 230 of the Communications Decency Act of 1996, 47
   28 U.S.C. § 230(c) (“Section 230”).
                                                  17
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    1         Section 230 “immunizes providers of interactive computer services against
    2 liability arising from content created by third parties.” Fair Hous. Council of San
    3 Fernando Valley v. Roommates.Com, LLC, 521 F.3d 1157, 1162 (9th Cir. 2008) (en
    4 banc). Subject to limited exceptions not relevant here, under Section 230, a
    5 “website operator” that “passively displays content that is created entirely by third
    6 parties” is immune from any liability arising out of the nature of that third-party
    7 content. Id. at 1162; see also Kimzey v. Yelp! Inc., 836 F.3d 1263, 1270 (9th Cir.
    8 2016) (“Yelp is immune from liability under the CDA for positing user-generated
    9 content on its own website”).
   10         Here, GOLO’s complaint about Defendants’ conduct regarding the user
   11 comments is precisely that Supplement Police “passively displays” those comments,
   12 and does not “screen” them, or otherwise prevent “readers [from] post[ing] whatever
   13 they desire.” Am. Compl. ¶ 64. Whatever sympathy one may have with GOLO’s
   14 frustrations, Section 230 unambiguously bars any claim for false advertising or trade
   15 liable based on such conduct. See, e.g., Enigma Software Grp. USA LLC v.
   16 Malwarebytes Inc., 2017 WL 5153698, at *3 (N.D. Cal. Nov. 7, 2017) (Section 230
   17 barred claim for false advertising under Lanham Act), appeal filed, No. 17-17351
   18 (9th Cir. Nov. 21, 2017); Joseph v. Amazon.Com, Inc., 46 F. Supp. 3d 1095, 1105-
   19 06 (W.D. Wash. 2014) (Section 230 barred trade libel claim based on user reviews).
   20 Thus, to the extent that GOLO is asserting any claims based on the user comments,
   21 those claims fail as a matter of law.
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        DEFENDANTS’ MOTION TO DISMISS
        AMENDED COMPLAINT FOR FAILURE TO STATE A CLAIM                     Case No. 18-cv-2434-GPC
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    1 V.      CONCLUSION
    2         For the foregoing reasons, the Amended Complaint should be dismissed with
    3 prejudice pursuant to Rule 12(b)(6).
    4 DATED: November 20, 2018                         BALLARD SPAHR LLP
    5
                                                         /s/ Scott S. Humphreys
    6                                                    Scott S. Humphreys
                                                         Paul J. Safier (pro hac vice application
    7
                                                          pending)
    8
                                                       Attorneys for Defendants
    9                                                  HIGHER HEALTH NETWORK, LLC
                                                       and TROY SHANKS
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